Detail by Entity Name                                                 http://search.sunbiz.org/Inquiry/CorporationSearch/SearchResultDetail?...
            Case 8:20-cv-00911-MSS-AAS                    Document 44-1    Filed 07/16/20        Page 1 of 1 PageID 318


               Detail by Entity Name
               Florida Limited Liability Company
               MAD TOYZ III, LLC
               Filing Information

               Document Number               L13000080771
               FEI/EIN Number                XX-XXXXXXX
               Date Filed                    06/04/2013
               State                         FL
               Status                        ACTIVE
               Principal Address

               301 South Missouri Avenue
               CLEARWATER, FL 33756-5833

               Changed: 03/29/2018
               Mailing Address

               301 South Missouri Avenue
               CLEARWATER, FL 33756-5833

               Changed: 03/29/2018
               Registered Agent Name & Address

               WILLIAMS, JILL
               301 South Missouri Avenue
               CLEARWATER, FL 33756-5833

               Name Changed: 04/25/2019

               Address Changed: 03/29/2018
               Authorized Person(s) Detail

               Name & Address

               Title MGR

               KNIGHT, JEFFRY
               301 South Missouri Avenue
               CLEARWATER, FL 33756-5833

               Title MGR

               Voll, Chris
               301 South Missouri Avenue
               CLEARWATER, FL 33756-5833


               Annual Reports

                Report Year         Filed Date
                2018                03/29/2018
                2019                04/25/2019
                2020                03/24/2020


                                                                                      Exhibit A
2 of 3                                                                                                                     7/15/2020, 4:09 PM
